Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 1 of 7 PageID #: 1649



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                 CRIMINAL NO. 1:20CR48-10
                                                (Judge Keeley)

  ALYSSA DEMUS,

                   Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 469),
         ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
         AND DIRECTING DEFENDANT’S COUNSEL TO REVIEW STANDARD
   PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

        On April 26, 2021, the defendant, Alyssa Demus (“Demus”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Eighteen of

  the Superseding Indictment. Demus stated that she understood that

  the magistrate judge is not a United States district judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering    the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

        Based upon Demus’s statements during the plea hearing and the

  government’s proffer establishing that an independent factual basis

  for the plea existed, the magistrate judge found that Demus was

  competent to enter a plea, that the plea was freely and voluntarily
Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 2 of 7 PageID #: 1650



  USA v. DEMUS                                                   1:20CR48-10

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 469),
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  given, that she was aware of the nature of the charges against her

  and the consequences of her plea, and that a factual basis existed

  for the tendered plea. The magistrate judge entered an Report and

  Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

  (dkt. no. 469) finding a factual basis for the plea and recommended

  that this Court accept Demus’s plea of guilty to Count Eighteen of

  the Superseding Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Demus’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count Eighteen of the Superseding Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it




                                       2
Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 3 of 7 PageID #: 1651



  USA v. DEMUS                                                   1:20CR48-10

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 469),
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         AND DIRECTING DEFENDANT’S COUNSEL TO REVIEW STANDARD
     PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

  has received and reviewed the presentence report prepared in this

  matter.

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The Probation Officer shall undertake a presentence

  investigation of Demus, and prepare a presentence report for the

  Court;

        2.    The Government and Demus shall provide their versions of

  the offense to the probation officer by May 21, 2021;

        3.    The presentence report shall be disclosed to Demus,

  defense counsel, and the United States on or before July 21, 2021;

  however, the Probation Officer shall not disclose any sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before August 4, 2021;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before August 18, 2021; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the


                                       3
Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 4 of 7 PageID #: 1652



  USA v. DEMUS                                                    1:20CR48-10

        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 469),
           ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
           AND DIRECTING DEFENDANT’S COUNSEL TO REVIEW STANDARD
       PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

  factual basis from the statements or motions, on or before August

  18, 2021.

         The magistrate judge continued Demus on bond pursuant to the

  Order Setting Conditions of Release (dkt. no. 40).

         The   Court     will   conduct   the   sentencing   hearing   for   the

  defendant on August 31, 2021 at 11:00 A.M. at the Clarksburg, West

  Virginia point of holding court. Prior to that hearing, counsel for

  Demus shall review with her the revised Standard Probation and

  Supervised Release Conditions adopted by this Court on November 29,

  2016, pursuant to the Standing Order entered by Chief Judge Groh,

  In    Re:    Revised     Standard   Probation     and   Supervised   Release

  Conditions, 3:16-MC-56.          A copy of the Standard Probation and

  Supervised Release Conditions and Standing Order are attached.

         It is so ORDERED.




                                          4
Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 5 of 7 PageID #: 1653



  USA v. DEMUS                                                   1:20CR48-10

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
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         ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
         AND DIRECTING DEFENDANT’S COUNSEL TO REVIEW STANDARD
     PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: May 12, 2021


                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




                                       5
Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 6 of 7 PageID #: 1654



  STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

  1.        You must report to the probation office in the federal judicial district where you are authorized to reside within72 hours
            of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
            within a different time frame.1
  2.        After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
            how and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.        You shall not commit another federal, state or local crime.
  4.        You shall not unlawfully possess a controlled substance. You shall refrain from any unlawful use of a controlled substance.
            You shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
            thereafter, as determined by the probation officer.
  5.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
            permission from the court or the probation officer.
  6.        You must answer truthfully the questions asked by your probation officer.
  7.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
            living arrangements (such as the people you live with), you must notify the probation officer at least JO days before the
            change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
            the probation officer within 72 hours of becoming aware of a change or expected change.
  8.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
            probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  9.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
            excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
            the probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such
            as your position or your job responsibilities), you must notify the probation officer at least 10 days before the change.
            If notifying the probation officer at least JO days in advance is not possible due to unanticipated circumstances, you must
            notify the probation officer within 72 hours of becoming aware of a change or expected change.
  10.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
            been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
            permission of the probation officer.
  11.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  12.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
            anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
            such as nunchakus or lasers).
  13.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
            without first getting the permission of the court.
  14.       If the probation officer determines that you pose a risk to another person (including an organization), the probation
            officer may require you to notify the person about the risk and you must comply with that instruction. The probation
            officer may contact the person and confirm that you have notified the person about the risk.
  15.       You shall not purchase, possess or consume any organic or synthetic intoxicants, including bath salts, synthetic
            cannabinoids or other designer stimulants.
  16.       You shall not frequent places that sell or distribute synthetic cannabinoids or designer stimulants.
  17.       Upon reasonable suspicion by the probation officer, you shall submit your person, property, house, residence, vehicle,
            papers, computers, or other electronic communications or data storage devices or media, or office, to a search conducted
            by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You shall warn
            any other occupants that the premises may be subject to searches pursuant to this condition.
  18.       You are prohibited from possessing a potentially vicious or dangerous animal or residing with anyone who possesses a
            potentially vicious or dangerous animal. The probation officer has sole authority to determine what animals are considered
            to be potentially vicious or dangerous.
  19.       You must follow the instructions of the probation officer related to the conditions of supervision.




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               This condition applies to defendants released to the community after a period of imprisonment. For probation cases, the
  condition is: You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
  of the time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different
  time frame.
Case 1:20-cr-00048-JPB-MJA Document 532 Filed 05/12/21 Page 7 of 7 PageID #: 1655




                                                             3:16-MC-56
